Case 1:15-cv-01106-LO-MSN Document 50 Filed 01/05/18 Page 1 of 10 PageID# 723



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

UNITED STATES OF AMERICA,
Plaintiff,
         v.
                                                     Civil Action No.: 1:15-cv-1106
ALL ASSETS IN AUSTRALIA AND
ELSEWHERE LISTED IN ATTACHMENT A,                    The Honorable Liam O’Grady
AND ALL INTEREST, BENEFITS, AND
ASSETS TRACEABLE THERETO,
Defendants in Rem.



                        UNITED STATES’ REPLY TO CLAIMANTS’
                      OPPOSITION TO MOTION TO STRIKE CLAIMS

         Claimants make many of the same arguments heard and rejected by this Court and the

Fourth Circuit Court of Appeals and on which the Supreme Court denied certiorari in the related

case.

    I.        SUBJECT MATTER JURISDICTION

         For example, Claimants contend that the Court cannot assert subject-matter jurisdiction

because the Complaint alleges “secondary” copyright infringement which is not a federal crime.

Dkt. # 45 at 7. This Court considered and rejected that precise claim in a detailed analysis,

finding that the Complaint alleged a conspiracy to commit copyright infringement, thus

supporting forfeiture of traceable property pursuant to 18 U.S.C. § 981(a)(1)(C). United States v.

All Assets Listed in Attachment A, 89 F.Supp.3d 813, 819-822 (E.D. Va. 2015). Claimants in the

prior case did not appeal this Court’s ruling on the “secondary” copyright issue. Dkt. #34 in

Batato, Case number 15-1360 (Claimant’s opening appellate brief). The Court should reject this

spurious argument which Claimants essentially abandoned in the prior case.



                                                 1
Case 1:15-cv-01106-LO-MSN Document 50 Filed 01/05/18 Page 2 of 10 PageID# 724



    II.       IN REM JURISDICTION

          Claimants challenge in rem jurisdiction as well (we assume only for the assets at issue

that are located outside the United States), urging this Court to adopt the reasoning of the dissent

in Batato v. United States, 833 F.3d 413 (4th Cir. 2016), cert. denied, 2017 U.S. LEXIS 5000

(Oct. 2, 2017) that the district court’s lack of sufficient “control” of the res defeated jurisdiction.

Dkt. #45 at 11. Notably, the panel in Batato was unanimous in rejecting Claimants’ argument

that that even though § 1355 provides for subject-matter jurisdiction, venue, and service of

process in forfeiture cases involving foreign property, the Claimants maintained that the statute

nevertheless purportedly includes an unstated requirement that a district court must have actual

or constructive control over the “res” (i.e., the property to be forfeited), when the forfeiture suit

is initiated. The dissent was limited to a single issue: “My objection to the ruling of the district

court, and to the holding of the majority, is not grounded in an objection to its claim of

jurisdiction over the res pursuant to Congress's grant of that jurisdiction, but is rather grounded

in justiciability concerns arising from Article III.” Batato, 833 F.3d at 436, Floyd, J. dissenting.


          Both the majority of the Fourth Circuit and this Court rejected the challenge to in rem

jurisdiction. Id. at 419-20; All Assets, 89 F.Supp.3d at 822-823. The Fourth Circuit noted that

“the cooperation (or lack thereof) of foreign nations in enforcing any of the district court’s orders

‘determines only the effectiveness of the forfeiture orders of the district courts, not their

jurisdiction to issue those orders.’” Batato, 833 F.3d at 421, quoting United States v. All Funds in

Account Nos. 747.034/278, 747.009/278, & 747.714/278 in Banco Espanol de Creditor, Spain,

295 F.3d 23, 27 (D.C. Cir. 2002). But as the Supreme Court has explained in a different but

analogous context:




                                                   2
Case 1:15-cv-01106-LO-MSN Document 50 Filed 01/05/18 Page 3 of 10 PageID# 725



          Courts often adjudicate disputes where the practical impact of any decision is not
          assured. For example, courts issue default judgments against defendants who fail
          to appear or participate in the proceedings and therefore seem less likely to
          comply. See Fed. Rule Civ. Proc. 55. Similarly, the fact that a defendant is
          insolvent does not moot a claim for damages. . . . Courts also decide cases against
          foreign nations, whose choices to respect final rulings are not guaranteed.

Chafin v. Chafin, 133 S. Ct. 1017, 1025 (2013) (citations omitted).

          Claimants are essentially arguing that this Court should adopt the view of the dissent in

Batato and reject the majority decision on the issue of in rem jurisdiction. Even the dissent in

Batato admitted that Article III limits may be satisfied if there is “a showing before the district

court that the foreign sovereign would be compelled, by its own law, to give binding effect to a

civil forfeiture judgment by a U.S. court.” 833 F.3d at 440, n. 5. If the dissent’s view had been

adopted by the majority, the government established the likelihood that New Zealand and Hong

Kong would enforce this Court’s forfeiture order in the prior civil case. Had the courts in those

countries not intended to enforce the forfeiture orders once the appeals were final, something that

just happened in October when the Supreme Court denied certiorari, they would have released

the assets long ago which to this day remain under restraint. Claimants have not even suggested

that the courts in Australia and the United Kingdom, where the foreign assets in this case are

located, will not enforce a forfeiture order from this Court. Claimants sought rehearing in the

Fourth Circuit on this very issue. The court of appeals denied rehearing, noting in its order that

“No judge requested a poll under Fed. R. App. P. 35 on the Petition for Rehearing En Banc.”

Dkt. #70 in Case No. 15-1360. There is simply no basis to conclude that the decision in Batato

was in error and should not govern the outcome of this case.

   III.      DUE PROCESS

          Claimants again raise the same due process argument as in the prior civil case, which

argument was rejected by this Court. Dkt. #12; All Assets, 89 F.Supp.3d at 823. While the



                                                   3
Case 1:15-cv-01106-LO-MSN Document 50 Filed 01/05/18 Page 4 of 10 PageID# 726



Fourth Circuit analyzed the issue differently, it ultimately concluded that there were sufficient

contacts with the Eastern District of Virginia to meet due process. Batato, 833 F.3d at 423-25.

That ruling should be followed in this case.

   IV.      DETERMINING FUGITIVE STATUS

         Claimants further incorporate their prior arguments as to determining fugitive status.

Dkt. #45 at 13, n. 10. In addition, they repeat their contention that because the individual

claimants are contesting extradition by lawful means, they should not be considered to be

declining to enter the United States to submit to its jurisdiction, as required by 28 U.S.C. §

2466(a)(1)(B). Dkt. #45 at 13. This argument was considered by the Fourth Circuit, however,

which commented that “the weight of persuasive authority on this question clearly favors finding

opposition to extradition relevant to the inquiry.” Batato, 833 F.3d at 432. Further, the Batato

court noted that the claimants “are unable to respond to the government’s logical conclusion that

a ‘three-year, multi-million-dollar quest to oppose coming to the United States is most surely

relevant to their intent.’” Id. Thus, whether the claimants have a “right” to challenge

extradition is not the issue. The fact that they are challenging extradition is a proper

consideration for a court in determining whether they have declined to enter the United States

with the intent to avoid criminal prosecution.

         Though Claimants contend that criminal fraud laws and copyright laws are not

interchangeable in the United States, since the New Zealand High Court Judge held that criminal

fraud provisions in New Zealand apply to copyright infringement, he correctly concluded there

was a “pathway” to extradition. Dkt. #45 at 15. This makes sense because if the offense of fraud

in New Zealand encompasses criminal copyright infringement, then extradition to the United

States for criminal copyright infringement would not violate the rule of specialty. See State ex




                                                  4
Case 1:15-cv-01106-LO-MSN Document 50 Filed 01/05/18 Page 5 of 10 PageID# 727



rel. Onapolis v. State, 716 N.W.2d 169 (Wis. Ct. App. 2006) (Rule of Specialty requires an

extradited defendant to be tried for the crimes on which extradition has been granted and none

other). See also Zhenli Ye Gon v. Holder, 992 F.Supp.2d 637,651 (W.D. Va. 2014) (extradition

treaties are read broadly to achieve the goal of returning persons to the requesting country to face

trial on certain criminal charges), aff’d, 774 F.3d 207 (4th Cir. 2014). The rule of specialty is

designed to protect the asylum state’s dignity and interests, not the interests of the accused.

United States v. Day, 700 F.3d 713, 721 (4th Cir. 2012).

        Given the resolution of this issue in Batato, on which the panel was unanimous, and in

the absence of any relevant authority to the contrary, the door is firmly shut on Claimants’ ability

to succeed on their argument that they are not fugitives within the meaning of 28 U.S.C. § 2466.

   V.      DISCRETIONARY APPLICATION OF FUGITIVE DISENTITLEMENT

   The Government does not dispute that application of the fugitive disentitlement doctrine is

discretionary. The Government does dispute that the pertinent facts are by any measure different

from those in the related civil forfeiture case, however as the facts regarding fugitive

disentitlement are the same, i.e., the individual claimants, who are not confined in any other

jurisdiction, have purposely declined to enter the United States to evade the jurisdiction of the

court in the related criminal case knowing that a warrant for their apprehension has been issued

by the United States, as explained in the United States’ Motion to Strike Claims, Dkt. #33 at 6-

15. The discretionary analysis which this Court undertook in the previous case is just as valid

now as it was almost three years ago. If anything, the Claimants’ persistent refusal to appear and

defend this case, after appealing this Court’s interpretation and application of the fugitive

disentitlement statute all the way to the Supreme Court (as well as multiple rulings in New

Zealand that they are eligible for extradition), is even more reason now for the Court to reach the




                                                  5
Case 1:15-cv-01106-LO-MSN Document 50 Filed 01/05/18 Page 6 of 10 PageID# 728



same conclusion as in the prior, related case. A decision now on fugitive disentitlement is not

“rushing” anything as the claimants allege. Dkt. #45 at 17. Rather, the sooner the case is

resolved, the sooner the victims will see some compensation for their numerous losses.

   While Claimants challenge whether the Government can meet its tracing burden, it must be

remembered that the Complaint alleges not only copyright infringement, but money laundering

as well. Dkt. #1 at ¶3. Thus, once tainted proceeds were mixed with untainted proceeds in the

Megaupload Limited account number 7881380320 (the “DBS 0320 account”), monies traced

from that account to other accounts and into various assets, as alleged in paragraphs 43-55,

became subject to forfeiture as property “involved in” money laundering. See United States v.

Kivanc, 714 F.3d 782, 794 (4th Cir. 2013) wherein the appellate court explained:

       Under Section 981(a)(1)(A), any real or personal property “involved in” a money
       laundering transaction in violation of Section 1957 is subject to civil forfeiture. 18
       U.S.C. 981(a)(1)(A). Consequently, when legitimate funds are commingled with
       property involved in money laundering or purchased with criminally derived
       proceeds, the entire property, including the legitimate funds, is subject to
       forfeiture. See United States v. McGauley, 279 F.3d 62, 76–77 (1st Cir.2002)
       (stating that legitimate funds that are commingled with illegitimate funds can be
       forfeited if the commingling was done to conceal the illegitimate funds); United
       States v. Baker, 227 F.3d 955, 970 n. 4 (7th Cir.2000) (same); United States v. One
       Single Family Residence Located at 15603 85th Ave. N., Lake Park, Palm Beach
       Cnty., Fla., 933 F.2d 976, 981 (11th Cir.1991) (stating that if one is a wrongdoer,
       “any amount of the invested proceeds traceable to drug activities forfeits the
       entire property”).

Thus, the Government can meet its burden to forfeit, as set forth in the Complaint, under three

theories: that the assets are traceable proceeds; as property involved in money laundering and

with respect to the servers and domain names, as property intended to be used to facilitate a

copyright violation.

       Because none of the defendant property in this case is untainted property, Luis v. United

States, 136 S.Ct. 1083 (2016), which repudiated the pretrial restraint of untainted assets in a




                                                 6
Case 1:15-cv-01106-LO-MSN Document 50 Filed 01/05/18 Page 7 of 10 PageID# 729



criminal case where those assets were needed to pay counsel, is inapplicable. First, all civil

forfeiture actions premised on a proceeds theory apply only to traceable proceeds, not untainted

property, and Luis clearly does not apply to tainted property. Luis, 136 S. Ct. at 1088 (“The

question presented is “[w]hether the pretrial restraint of a criminal defendant's legitimate,

untainted assets (those not traceable to a criminal offense) needed to retain counsel of choice

violates the Fifth and Sixth Amendments.”) (emphasis added). Second, Luis reaffirmed the

notion that tainted property may be restrained even if the claimant needs the property to hire

counsel. 136 S. Ct. at 1090 (“The Government may well be able to freeze, perhaps to seize,

assets of the latter, ‘tainted’ kind before trial. As a matter of property law the defendant's

ownership interest is imperfect. The robber's loot belongs to the victim, not to the defendant.”). 1

Luis, 136 S. Ct. at 1090.

       Claimants have not even alleged, much less proved, that they need the assets which are

the subject of this civil forfeiture action to retain counsel. Indeed, they have successfully

obtained the release of millions of dollars of tainted assets which this Court restrained in the

criminal case, to not only retain counsel in the New Zealand extradition proceedings, but they

have also obtained release of millions of dollars of tainted assets for living expenses. Batato,

833 F.3d at 418 (“Although restraining orders froze the assets in the lead up to this action, the

New Zealand courts have routinely released funds to claimants for living and legal expenses.

Some of these have been very substantial, including millions in legal fees for Kim Dotcom, and




1Claimants fail to acknowledge that in the related criminal case, a grand jury found probable
cause that the assets which are the subject of this civil forfeiture action were, in fact, the
proceeds of the very crimes for which the grand jury found probable cause to believe the
defendants are guilty. Relying on the grand jury determination that the assets are traceable
proceeds of crime, this Court entered a restraining order in the criminal case. Claimants’
arguments here are essentially an end run around that criminal restraining order.


                                                  7
Case 1:15-cv-01106-LO-MSN Document 50 Filed 01/05/18 Page 8 of 10 PageID# 730



$170,000 per month for living expenses for the same claimant.”). Even post-Luis, they are

simply not allowed to use tainted assets for any purpose, including to hire counsel in a criminal

case. United States v. Johnson, 683 F. App'x 241, 250 (4th Cir.) (“The bottom line is that

Johnson had no right to use illegally obtained funds to hire an attorney.”), cert. denied, 138 S. Ct.

421 (2017).

         Moreover, a motion to strike based on fugitive disentitlement is not a summary judgment

motion where the moving party must produce evidence. Fugitive disentitlement simply means

the claimants cannot participate in the case due to their fugitive status. Once again, Claimants

have failed to take advantage of the opportunity to be heard by declining to enter the United

States. Batato, 833 F.3d at 427.

   VI.      DUE PROCESS ISSUES REGARDING THE DATA ON THE DEFENDANT
            SERVERS

   There is no due process issue as to the 60 servers purchased from Leaseweb that are

defendants in this case. As pointed out in the United States Opposition to Claimants’ Motion

For Extension of Time to File Motion to Dismiss or to Set Aside Default, Dkt. #46 at 6-7, the

servers which are named in this civil forfeiture complaint do not contain any data; they are, in

fact, new servers that were purchased with tainted proceeds and which the Claimants intended to

use to further their copyright conspiracy, not the servers Claimants used in their illegal

endeavors. Indeed, these sixty servers were purchased from Leaseweb on October 27, 2011.

Dkt. #1 at ¶52. The computers were seized before Claimants had taken physical possession of

them. There is no due process issue relating to preservation of data on the servers because there

simply never has been any data on the servers which are the subject of this forfeiture action. It

appears Claimants are willing to accept the Government’s explanation. Dkt. #47 at 15-16.




                                                  8
Case 1:15-cv-01106-LO-MSN Document 50 Filed 01/05/18 Page 9 of 10 PageID# 731



   WHEREFORE, the Government prays the Court will overrule Claimants’ objections to the

Motion to Strike and proceed to strike all of the claims.

                                      Respectfully submitted,

                                      Dana J. Boente
                                      United States Attorney

                              By:                        /s/
                                      Karen Ledbetter Taylor
                                      G. Wingate Grant
                                      Jay V. Prabhu
                                      Assistant United States Attorneys
                                      Attorney for the United States of America
                                      United States Attorney’s Building
                                      Justin W. Williams U.S. Attorney’s Building
                                      2100 Jamieson Avenue
                                      Alexandria, Virginia 22314
                                      Phone: 703-299-3700
                                      Fax: 703-299-3982
                                      Email Address: Karen.taylor2@usdoj.gov




                                                 9
Case 1:15-cv-01106-LO-MSN Document 50 Filed 01/05/18 Page 10 of 10 PageID# 732



                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 5th day of January 2018, I electronically filed the foregoing

 with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

 (NEF) to all counsel of record.




                                                                 /s/
                                              Karen Ledbetter Taylor
                                              Assistant United States Attorney
                                              Attorney for the United States of America
                                              United States Attorney=s Office
                                              Justin W. Williams U.S. Attorney=s Building
                                              2100 Jamieson Avenue
                                              Alexandria, Virginia 22314
                                              Phone: 703/299-3700
                                              Fax: 703/299-3982
                                              Email Address: Karen.Taylor2@usdoj.gov




                                                 10
